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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   ELISEO GOMEZ
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,       )     NO. CR-S-07-0268 FCD
12                                   )
                    Plaintiff,       )
13                                   )     STIPULATION AND ORDER CONTINUING
          v.                         )     STATUS CONFERENCE
14                                   )
     ELISEO GOMEZ, et al.,           )
15                                   )     Date: August 4, 2008
                    Defendants.      )     Time: 10:00 a.m.
16                                   )     Judge: Frank C. Damrell, Jr.
     _______________________________ )
17
18        It is hereby stipulated and agreed to between the United States of
19   America through Heiko Coppola, Assistant United States Attorney, and
20   defendants: Eliseo Gomez represented by attorney Mr. Matthew C.
21   Bockmon; Marco Robles-Guerrero represented by his attorney, Ms. Dina L.
22   Santos; and Lucio Hernandez represented by his attorney, Mr. James R.
23   Greiner, hereby stipulate that the status conference presently
24   scheduled for June 23, 2008, be vacated and rescheduled for status
25   conference on August 4, 2008, at 10:00 a.m.
26        This continuance is being requested for attorney preparation in
27   the case as all defense counsel are in the process of reviewing the
28   discovery provided to the defense by the government.
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 1         IT IS FURTHER STIPULATED that the period from June 23, 2008,
 2   through and including August 4, 2008, be excluded in computing the time
 3   within which trial must commence under the Speedy Trial Act, pursuant
 4   to 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code T4 for continuity and
 5   preparation of counsel.
 6   Dated: June 19, 2008
                                              Respectfully submitted,
 7
                                              DANIEL J. BRODERICK
 8                                            Federal Defender
 9                                            /s/ Matthew C. Bockmon
                                              ________________________________
10                                            MATTHEW C. BOCKMON
                                              Assistant Federal Defender
11                                            Attorney for Defendant
                                              ELISEO GOMEZ
12
     Dated: June 19, 2008
13
                                              MCGREGOR W. SCOTT
14                                            United States Attorney
15                                            /s/ Matthew C. Bockmon for
                                              _________________________________
16                                            HEIKO COPPOLA
                                              Assistant U.S. Attorney
17                                            per telephonic authority
18
     Dated: June 19, 2008
19
                                              /s/ Matthew C. Bockmon for
20                                            _________________________________
                                              DINA L. SANTOS
21                                            Attorney for Defendant
                                              Marco Robles-Guerrero
22
23   Dated: June 19, 2008
24                                            /s/ Matthew C. Bockmon for
                                              _________________________________
25                                            JAMES R. GREINER
                                              Attorney for Defendant
26                                            Lucio Hernandez
27   / / /
28   / / /


     Stip & Order                             2
              Case 2:07-cr-00268-TLN Document 44 Filed 06/19/08 Page 3 of 3


 1                                        O R D E R
 2   IT IS SO ORDERED.
 3
 4   Dated:    June 19, 2008
                                                   _______________________________________
 5                                                 FRANK C. DAMRELL, JR.
                                                   UNITED STATES DISTRICT JUDGE
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     Stip & Order                              3
